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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

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EQUAL EMPLOYMENT OPPORTUNITY COMMISSION, _ (LAP)(HP)
Plaintiff,
-against-
BLOOMBERG L.P.,
Defendant.
X

 

JILL PATRICOT, TANYS LANCASTER,
JANET LOURES, MONICA PRESTIA,
MARIA MANDALAKIS, ET AL.,

Plaintiff-Intervenors,
-against-
BLOOMBERG L.P.,

Defendant.

non- ---- a-=-X

PLAINTIFF-INTERVENORS MONICA PRESTIA AND
MARTA MANDALAKIS’S CROSS-NOTICE OF DEPOSITION

TO: Counsel for Defendant

Please take notice that pursuant to Rule 26 and 30 of the Federal Rules of Civil
Procedure, as well as the local Civil Rules of the Southern District of New York, Plaintiff-
Intervenors Monica Prestia and Maria Mandalakis will take the deposition upon oral examination
of Michael Bloomberg before a person authorized by law to administer oaths, as follows:

DATE: Thursday, May 14, 2009
TIME: Commencing at 9:00 a.m.
PLACE: EEOC, 33 Whitehall Street, 11" floor, New York, NY 10004
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The testimony shall be recorded by stenographic means and videotaped. You are invited to
attend and examine the witness.

Dated: May 5, 2009
New York, New York

JAA FIRM, PLLC

  
        

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Attorneys for Plaintiff-Intervenors Monica Prestia
and Maria Mandalakis
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CERTIFICATE OF SERVICE
The undersigned, a member in good standing of the bar of this Court, certifies that on
May 5, 2009, he caused a copy of the foregoing to be served by electronic mail upon the
following counsel of record:

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